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                    Important information regarding your vehicle
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                    percentage of the vehicle's total value.
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                    The total settlement amount for your vehicle is $8,372.33.
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                    We are prepared to settle this total loss. The total amount is $8327.33 for the bike you owe $5262.21 to Motolease so
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                     ARAALINA MENCIZ
                    AMANDA‘ PLOSKI
                    @icieey Mecca,
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